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~AO 245C       (Rev. 09/11) Amended Judgment in a Criminal Case                                                         (NOTE: Identify Changes with Asterisks(*))
               Sheet 1


                                            UNITED STATES DISTRICT COURT
                            EASTERN                                     District of                                   ARKANSAS            FIlE Q
                                                                                                                                EA       U.S. DfSTRICT COURT
                                                                                 AMENDED JUDGMENT IN A Eni:~f~;{t,R~~E
                                                                                                                                     8
           UNITED STATES OF AMERICA
                                v.                                                                                                       MAR 2 2013
                       JASON HOLMES

Date of Original Judgment:                3/15/2013
(Or Date of Last Amended Judgment)                                               Defendant's Attorney
Reason for Amendment:
0 Correction of Sentence on Remand (18 U.S.C. 3742(t)(l) and (2))                0 Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
0 Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                 0 Modification oflmposed Term oflmprisonment for Extraordinary and
    p 35(b))                                                                          Compelling Reasons (18 U.S.C. § 3582(c)(l))
0 Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))            0 Modification oflmposed Term oflmprisonment for Retroactive Amendment(s)
~Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)                    to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))

                                                                                 0 Direct Motion to District Court Pursuant 0 28 U.S.C. § 2255 or
                                                                                   0 18 U.S.C. § 3559(c)(7)
                                                                                 0 Modification of Restitution Order (18 U.S.C. § 3664)
THE DEFENDANT:
0 pleaded guilty to count(s)
0 pleaded nolo contendere to count(s)
  which was accepted by the court.
~ was found guilty on count(s)    1 & 10 of Second Superseding Indictment
  after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                      Nature of Offense                                                             Offense Ended
 21 USC§§ 841 (a)(1) &                Conspiracy To Possess With Intent To Distribute                                6/7/2011

 (b)(1)(B) & 846                      Methamphetamine


       The defendant is sentenced as provided in pages 2 through                 11         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
0   The defendant has been found not guilty on count(s)
0 Count(s)                                                    0 is 0 are dismissed on the motion of the United States.
         It is ordered that the defendant must notifY the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenoant must notifY the court and United States attorney of material changes in economic circumstances.
                                                                               3/15/2013
                                                                               Date of Imposition of Judgment


                                                                                 ~~""'~~
                                                                                     ture of Judge
                                                                                 JAMES M. MOODY                                  U.S. District Judge
                                                                                 Name of Judge                                   Title of Judge
                                                                                 3/25/2013
                                                                                 Date
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AO 245C      (Rev. 09/11) Amended Judgment in a Criminal Case
             Sheet lA                                                           (NOTE: Identify Changes with Asterisks(*))

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DEFENDANT: JASON HOLMES
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                                          ADDITIONAL COUNTS OF CONVICTION
Title & Section                  Nature of Offense                       Offense Ended


21 USC§ 841(a)(1) &               Possession With Intent To Distribute    3/15/2011                   10
(b)(1 )(B)                        Methamphetamine
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  AO 245C    (Rev. 09/11) Amended Judgment in a Criminal Case
             Sheet 2 - Imprisonment                                                                  (NOTE: Identify Changes with Asterisks(*))

                                                                                                 Judgment- Page _3,;.....__ of          11
  DEFENDANT: JASON HOLMES
  CASE NUMBER: 4:11cr00129-07 JMM

                                                                IMPRISONMENT

      The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of

ONE HUNDRED FORTY FOUR (144) MONTHS AS TO EACH COUNT TO RUN CONCURRENTLY




  ~ The court makes the following recommendations to the Bureau of Prisons:

The defendant shall participate in the RDAP intensive drug treatment program, and educational and vocational programes.
The defendant shall serve his term of imprisonment at Forrest City, Arkansas or Texarkana, Texas.


 ri{ The defendant is remanded to the custody ofthe United States Marshal.
 D The defendant shall surrender to the United States Marshal for this district:
      D     at                                       D     a.m   D    p.m.   on

      D     as notified by the United States Marshal.

 D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
      D     before 2 p.m. on

      D     as notified by the United States Marshal.

      D     as notified by the Probation or Pretrial Services Office.


                                                                     RETURN
 I have executed this judgment as follows:




     Defendant delivered on
                                   - - - - - - - - - - - - - - - - to

 a t - - - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                            UNITED STATES MARSHAL


                                                                         By_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                        DEPUTY UNITED STATES MARSHAL
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 AO 245C     (Rev. 09/11) Amended Judgment in a Criminal Case
             Sheet 3- Supervised Release                                                                    (NOTE: IdentifY Changes with Asterisks(*))

                                                                                                                         4_ of
                                                                                                         Judgment-Page _ _                     11
 DEFENDANT: JASON HOLMES
 CASE NUMBER: 4:11cr00129-07 JMM
                                                         SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of

FOUR (4) YEARS




         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau ofPnsons.
 The defendant shall not commit another federal, state, or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests
thereafter, as determined by the court.
 D     The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
~ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
~ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
D      The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
       student, as directed by the probation officer. (Check, if applicable.)
D      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with
the Schedule of Payments slieet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                       STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the prooation officer;
 10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
        any contraband observed in plain view of the probation officer;
 11)    the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
 12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
 13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
        record, personal history, or characteristics and shall permit the probation officer to make such notifications and confirm the
        defenaant's compliance with such notification requirement.
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AO 245C    (Rev. 09/11) Amended Judgment in a Criminal Case
           Sheet 3C - Supervised Release                                                  (NOTE: IdentifY Changes with Asterisks(*))

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                                       SPECIAL CONDITIONS OF SUPERVISION
1) The defendant shall participate, under the guidance and supervision of the probation officer, in a substance abuse
treatment program which may include testing, outpatient counseling, and residential treatment. Further, the defendant
shall abstain from the use of alcohol throughout the course of treatment.
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AO 245C     (Rev. 09/11) Amended Judgment in a Criminal Case
            Sheet 5 -Criminal Monetary Penalties                                                                  (NOTE: Identify Changes with Asterisks(*))

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DEFENDANT: JASON HOLMES
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                                             CRIMINAL MONETARY PENALTIES
     The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                      Assessment                                              Fine                                Restitution
TOTALS            $ 200.00                                                $ 0.00                                $ 0.00


     The determination of restitution is deferred until _ _ _ _ _ _ . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

0    The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately 2roportioned payment, unless specified otherwise
     in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all non federal victims must be paid
     before the United States is paid.

Name of Payee                                                         Total Loss*                 Restitution Ordered       Priority or Percenta~e




TOTALS                                                                $                             $               0.00

0    Restitution amount ordered pursuant to plea agreement $ - - - - - - - - - -

0    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

0    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

     0    the interest requirement is waived for        0      fine        0 restitution.
     0    the interest requirement for          0    fine        0        restitution is modified as follows:



* Findings for the total amount of losses are required under Chapters 109A, 110, 11 OA, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April23, 1996.
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AO 245C     (Rev. 09/11) Amended Judgment in a Criminal Case
            Sheet 6 - Schedule of Payments                                                                 (NOTE: IdentifY Changes with Asterisks(*))

                                                                                                       Judgment- Page        7      of        11
DEFENDANT: JASON HOLMES
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                                                    SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A     ~ Lump sum payment of$ _2_0_0_._0_0_ _ __ due immediately, balance due

           D   not later than                                      , or
           D   in accordance with D C,           D D,          0   E,or   0 Fbelow; or
B     D    Payment to begin immediately (may be combined with             DC,       D D, or     OF below); or

C     D   Payment in equal                  (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                      (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

D     D   Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                  over a period of
                       (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    D    Payment during the term of supervised release will commence within               (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    0    Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary 2enalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and
     corresponding payee, if appropriate.




D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fme interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
